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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 7
CODE REBEL CORPORATION, : Case No. 16-11236 (BLS)
Debtor. : Related Docket No. 44

ORDER APPROVING SECOND INTERIM FEE APPLICATION OF COZEN
O’CONNOR FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
EXPENSES AS COUNSEL TO JEOFFREY L. BURTCH, CHAPTER 7 TRUSTEE

Upon consideration of the second interim fee application of Cozen O’Connor (“M”),
retained by Jeoffrey L. Burtch, Chapter 7 Trustee (the “M”) for the allowance of interim
compensation and reimbursement of expenses for the interim period November l, 2016 through
June 30, 2017 (the “ pplication”), all of the requirements of ll U.S.C. §§ 327, 328, 330, and
331, Fed. R. Bankr. P. 2016 and L.R. 2016-l appearing to have been met; the Court having
determined that the fees and expenses incurred were reasonable and necessary and that notice of
the Application Was appropriate; and good cause appearing therefore;

IT IS HEREBY ORDERED that the Application is APPROVED;

IT IS FURTHER ORDERED that Cozen is allowed, on an interim basis, compensation in
the amount of $68,279.00;

IT IS FURTHER ORDERED that Cozen is allowed, on an interim basis, the
reimbursement of actual, reasonable and necessary expenses in the amount of $590.90; and

IT IS FURTHER ORDERED that the Trustee is authorized to remit payment in the

amount of $68,869.90 to Cozen on account of such fees and expenses.

Dated: August l ,2017 -RJ/»Mz‘~"“¢.

Honorab\lé Brendan Linehan Shannon
Chief United States Bankruptcy Judge

